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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

v.                                                  HON. AMIT P. MEHTA

GOOGLE LLC,

                               Defendant.


STATE OF COLORADO, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

v.                                                  HON. AMIT P. MEHTA

GOOGLE LLC,

                               Defendant.



     JOINT PROPOSAL TO ADDRESS CONFIDENTIAL INFORMATION IN POST-
                         HEARING SUBMISSIONS

       To maximize public access to judicial records while providing for the protection of

confidential information as allowed under the Federal Rules of Civil Procedure and Local Rule

5.1(h), the parties submit this joint proposal to address confidential information in the parties’

Post-Hearing Submissions and propose a schedule for providing the Court hyperlinked versions

of the Post-Hearing Submissions.

       The parties propose that the Court require all parties and non-parties to comply with each

of the directives set forth below governing the disclosure of information designated as

“Confidential Information” or “Highly Confidential Information” pursuant to the Stipulated
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Protective Order entered in this matter, ECF No. 98 or the Stipulated Order on the Use of

Confidential Information at Trial, ECF No. 647:

   1. By May 16, 2025, the parties shall file under seal their opening Post-Hearing

       Submissions.

   2. To facilitate the subsequent filing of versions of the opening Post-Hearing Submissions

       with redactions consistent with the Court’s guidance and United States v. Hubbard, 650

       F.2d 293 (D.C. Cir. 1980), the parties propose:

           a. If a party quoted or described in its opening Post-Hearing Submissions any

              information not previously disclosed publicly at the hearing that a non-party

              maintained as Confidential or Highly Confidential, then, starting May 16, 2025,

              the party may begin to provide the applicable non-party with notice of the

              information quoted or described so that the non-party may identify any redactions

              it contends are warranted.

           b. A non-party shall provide proposed redactions to information quoted or described

              in the parties’ opening Post-Hearing Submissions within 96 hours (four days) of

              receiving a notice referenced in Paragraph 2(a).

   3. On May 21, 2025, the parties shall file public, redacted versions of the opening

       Combined Post-Trial Briefs & Proposed Conclusions of Law that apply existing

       confidentiality designations.

   4. By May 23, 2025, the parties shall file under seal their responsive Post-Hearing

       Submissions.




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5. To facilitate the subsequent filing of versions of the responsive Post-Hearing Submissions

   with redactions consistent with the Court’s guidance and Hubbard, 650 F.2d 293, the

   parties propose:

       a. If a party quoted or described in its responsive Post-Hearing Submissions any

           information not previously disclosed publicly at the hearing that a non-party

           maintained as Confidential or Highly Confidential, then, starting May 23, 2025,

           the party may begin to provide the applicable non-party with notice of the

           information quoted or described so that the non-party may identify any redactions

           it contends are warranted.

       b. A non-party shall provide proposed redactions to information quoted or described

           in the parties’ responsive Post-Hearing Submissions within 96 hours (four days)

           of receiving a notice referenced in Paragraph 5(a).

6. By May 26, 2025, Google shall provide proposed redactions to Confidential or Highly

   Confidential Information in the Plaintiffs’ opening Post-Hearing Submissions.

7. By May 27, 2025, Google shall provide proposed redactions to Confidential or Highly

   Confidential Information in the Plaintiffs’ responsive Post-Hearing Submissions.

8. One day prior to the start of closing arguments, the parties shall file public, redacted

   versions of the opening and responsive Post-Hearing Submissions that are consistent with

   the Court’s guidance and Hubbard, 650 F.2d 293.

9. By June 13, 2025, the parties shall provide the Court with hyperlinked versions of

   opening and responsive Post-Hearing Submissions.




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Dated: May 13, 2025                     Respectfully submitted,

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